                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: Antonyuk v. Nigrelli                                      _____             Docket No.:
                                                                                                       22-2908 ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

Name: William J. Taylor, Jr.

Firm: Everytown Law

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Appearance for: Everytown for Gun Safety
                                                         (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                         )
                                                         (name/firm)

G Substitute counsel (replacing other counsel:                         _______                                        )
                                                         (name/firm)

G Additional counsel (co-counsel with:                                                                                )
                                                         (name/firm)

G Amicus (in support of: Defendants-appellants (Nigrelli, Doran, Cecile)
✔                                                                                                                     )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on                                                                                                     OR

G I applied for admission on                                                                                          .


Signature of Counsel: /s/ William J. Taylor, Jr.

Type or Print Name: William J. Taylor, Jr.
